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AO 106 (Rev. 04/10) Application for a Search Warrant

UNITEDSTATES DISTRICT CoURT DEC m 2017

for the 8 cLEaK u. s. m
FllCT COURT
Eastern District of California EASTERN o 8 A FoF\NlA
' x

ln the Matter of the Search of )
rNFoRMATIoN ASSOCIATED WITH THE § Case NO
DRoPBoX ACCoNT ASSocIATED WITH ) 2: 1

AREED8821@GMA1LCOM THAT IS STORED AT ) 7' SW ' l 0 7 8 mr wl

PREMISES CONTROLLED BY DROPBOX, INC. \)

 

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under

penalty of perjury that I have reason to believe that on the following person or property (identi]j) she person or describe the
. property to» be searched and give its location):

SEE ATTACIIMENT A, attached hereto and incorporated by reference.

located m the Eastern District of California there 1s now concealed (idenri]j) she
person or describe the property to be seized); ~

SEE ATTACHMENT B, attached hereto and incorporated by reference

 

The basis for the search under Fed. R. Crim P 4l(c) 1s (check one or more):
121 evidence of a crime;
121 contraband, finits of crime, or other items illegally possessed;
lZl property designed for use, intended for use, or used in committing a crime;
l:l a person to be arrested or a person who is unlawfully restrained

The search is related to a violation of:

Code Sectz`on l O]j’ense Descriptz`on
18 U.S.C. § 2251(a) ' t Sexual Exploitation of Minors
18 U.S.C. § 2252(a)(2) Receipt and Distlibution of Child Pornography
18 U.S.C. § 2252(a)(4)(B) Possession of Child Pomography

l The application is based on these facts:
SEE AFF]])AVIT, attached hereto and incorporated by reference.

|:| Continued on the attached sheet.
|:| Delayed notice days (give exact ending date if more than 30 ` ) is requested

under 18 U. S C.' § 3103a, the basis of which 1s set fo;Znthe?a/tm?§gjheet

Applicant’ s signature

/, Ryan Vazqu Mec1al Agent

m!ed name and h

 

Sworn to before me and signed in my presence.

 

 

Date: g - ~
‘ t /Vv Judge ’s signature

City and state: Sacramento, California 'Deborah Barnes, U.S. Magistrate Judge

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AFFIDAVIT IN SUPPORT OF SEARCH WARRANT
I, Special Agent Ryan Vazquez, being duly sworn, depose and state the following:
EXPERIENCE AND TRAINING 7
Ihave been employed as aSpecial Agent of the U.S. Department of Homeland Security,
Homeland Security Investigations (HSI) since October 2010, and 1 am currently assigned to
the Assistant Special Agent ln Charge Sacramento. While employed by HSI, 1 haven l
k investigated federal criminal violations related to high technology or cybercrime, child
7 exploitation, and child pornography Prior to this, 1 was a Special Agent with the Unit_ed
States Air Force Office of Special Investigation (AFOSI) from March 2004 to March 2009,
and a Special Agent with the United States Environmental Protection Agency from March
2009 to October 2010. 1 have gained experience through training at the Defense Computer
Forensic Laboratory for computer forensics in 2005, in my capacity as a Special `Agent with
AFOSI. 1 have spent a lot of time conducting these types of investigations Currently, child
pornography and child exploitation cases account for approximately 30% of my caseload. 1
have received training in the area of child pornography and child exploitation, and have had
» the opportunity to observe and review numerous examples of child pornography (as delined in
18 U.S.C.` § 2256) in all forms of media including computer media. 1 have Worked child
pornography cases as an`investigator and a forensic agent. Moreover, 1 am a federal law
enforcement officer who is engaged in enforcing the criminal laws, including 18 U.S.C. §§
2251, 2252, and 2252A, and 1 am authorized by law to request a search warrant.
1. ~ 1 make this affidavit in support of an application for a search Warrant under 18
U.\S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(0)(1)(A), to require Dropbox, 1nc. to disclose to the

United States information relating to a certain Dropbox account that Was created, utilized,

 

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maintained and/or connected with the email address areed882l@gmail.com and/or the
usernames “Aaron Reed,” as described in Attachment A and Section I of Attachment B. The
information to be searched is stored at premises which are owned? maintained,\ controlled, or
operated by Dropbox, lnc., with a business office at 333 Brannan Street, San Francisco, CA
94107. Upon receipt of the information, government-authorized persons will review that
information to locatethe items described in Section 11 of Attachment B
f 2. The facts and conclusions in this Affidavit are based upon: (i) my personal
knowledge gathered during my participation in this investigation; (ii) my training and
experience; (iii) the training and experience of other law enforcement personnel with whom 1 v
have discussed this investigation; and (iv) a review of information obtained by other law
enforcement personnel participating in this investigation
3. This Affidavit is intended to show only that there is sufficient probable cause for
the requested warrant and doe`s_ not set forth all of my knowledge about this matter.
b CRIMINAL VIOLATIONS
4.HS1 is currently investigating the production, possession, and receipt of child
pomographythrough the lnternet. Based on my training and experience and thefacts set forth in
this Affidavit, there is probable cause to believe that violations of (i) Title 18, United States
Code, Section 2251(a) (Sexual Exploitation of Minors); (ii) Title 18, United States Code,
Sections 2252(a)(2) and 2252A(a)(1)-(2) (Receipt and Distribution of Child Pomography); and
(iii) Title 18, United States Code, Section 2252(a)(4)(B) (Possession of Child Pornography) have
been committed.` There is also probable cause to search the information described in Attachment
A for evidence, instrinnentalities, contraband or fruits of these crimes further described in

l Attachment B.

   

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JURISDICTION
5. This Court has jurisdiction to issue the requested warrant because it is “a court of
competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(l)(A) &
(c)( l)(A). Specifically, the Court is “a district court of the United States (including a magistrate

judge of such a court) . . . that _ has jurisdiction over the offense being investigated.” 18 U.S.C.

§ 2711(3)(A)(i).
' FACTS ESTABLISHING PROBABLE CAUSE
_ 6. On September 14, 2015, HSI Toronto received a request for assistance from the

Canadian Office of Provincial Police (OPP) regarding a suspect who enticed two victims in
Canada, a 14-year-old mentally disabled child and a 9-year-old child, to produce and provide
child sexual exploitation photographs and videos of themselves via the Internet through the
messaging service Kik. ln response to a Canadian Production Order for Records, Kik provided
IP logs, which indicated the individual to whom the images were sent used IP addresses in
California. Wave Broadband records for the IP addresses in California indicated the service was
subscribed to Aaron REED.

k 7. In February 2016, a federal search warrant was executed at REED’s residence.

, During an interview at the time of the search, REED admitted to using his cell phone to
communicate with the minor victims and to receiving sexually explicit images from the victims.
REED also admitted that he knew the victims were underage. The cellular phone REED had at
the time of the search warrant was not the one he had used to communicate with the victims, as
had had recently “upgraded” his phone and turned his old phone (with the chats) in to Sprint.

8. A review of Kik chat logs recovered from the 14-year-old victim’s electronic

devices show the victim and REED exchanged sexually explicit material over the course of

 

 

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approximately six months in 2015. The messages also show how REED groomed the victim into
providing progressiver more explicit material over time (from single images to videos of
penetration With objects), culminating in REED using his exploitative relationship with his first
victim to obtain sexually explicit images of the second, 9-year-old victim as well. d

9. On December 7, 2017, REED was indicted in the Eastern District of California
for one count of sexual exploitation of children in violation of 18 U.S.C. § 2251(a), four counts
of receipt of child pornography in violation of 18 U.S.C. § 2252(a)(2), and two counts of

transferring obscene material to minors in violation of 18 U.S.C. § 1470.

10. On December ll, 2017, REED was arrested in Roseville, CA. During the arrest,

4 REED waived his Miranda rights and agreed to be interviewed During the interview, REED
denied having any child pornography on his cellular phone.
ll. Reed also signed a consent form to search his Samsung Galaxy S7 cellular phone.
HSI Computer Forensic Agent (CFA) Kurt Blackwelder and Computer Forensic Analyst, Victor
Reyes previewed REEDs cellular phone utilizing forensic tools. During the preview, the agents
. discovered a video that appeared to be consistent with child pornography The video was
entitled “[pthc] Falkovideo, Custom#8[6yo 1 st Anal, 06m44s-HiRes] Anal 2014 opva preteen
loli llyo 10yo pedo mom family.wmv.”l A review of the video revealed that it depicts a pre-
pubescent female of approximately 5 or 6 years of age involved in various sex acts with adults.
12. I know from my training an experience and conversations with other agents, that
child pornography file names often use the following abbreviations: “pthc” is used to indicate

” 66

“pre-teen hard core, pedo” is used to indicate “pedophilia,” and “opva” is used to indicate

“Onion Pedo Video Archive,” a reference to videos obtain from what is commonly referred to as

 

1 Please note that the file name contains additional characters after the word “Hi Res” and before
the word “anal,” however, they were not displayed correctly and are not listed above.

   

 

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the “darkweb.” I know from my training, experience, and conversations with other law
enforcement agents that The Onion Router (TOR) or similar anonymous web browsing software
is used to access the “dark web,” websites not viewable by the general public using normal web
browsers, and that the Onion Pedo Video Archive is a website on the dark web. Those interested
l in obtaining or exchanging child pornography do so on the dark web in order to conceal their
identities and avoid detection. Based upon the filename on this video I believe REED may be
using TOR or a similar anonymous browser to access child pornography on the dark web.

13. A quick review other video file names revealed additional names consistent with
child pornography. The child pornography was inside of a folder utilized by a Dropbox account.
A manual review of the phone showed that the Dropbox application was installed, which, when
opened, displayed the username “Aaron Reed” and the email address “areed8821@gmail.com.”

14. At that point, forensic review of the cell phone was stopped while a search
warrant was sought and the cell phone was transported to the HSI office at 650 Capitol Mall,
Sacramento, CA 95814. l

y ADDITIONAL BACKGROUND INFORMATION
A. DROPBOX j
15. -“Dropbox” is a file hosting service that offers cloud storage and file
synchronization that allows users to access and share files on computers, phones, tablets, and the
Dropbox website. Dropbox’s services are “designed to make it simple ford [a user] to store [his or
her] Stuf`f, collaborate with others, and work across multiple devices.’; See
https://www.dropbox.com/privacy.
16, According to Dropbox’s privacy policy, Dropbox stores the user’s “Stuff,” such

` as "‘files, messages, comments, and photos_as well as information related to it,” such as the

 

 

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' user’s name, email address, password, username, profile picture, phone number, payment info,
physical address, account activity, and contacts. See https://www.dropbox.com/privacy and
https://www.dropbox.com/help/63 (last viewed April 3, 2017). Dropbox also collects
information related to how the user uses Dropbox’s services, “including actions [the users take in
his or her account] (like sharing, editing, viewing, and moving files or folders). . '. . and about the
devices [the user] use to access the Services. This includes things like IP address, the type of 1
browser and device [the user] use[s], the web page [the user] visited\before coming to [the
Dropbox] site, and identifiers associated with [the user’s ] devices.” The user’s devices may also
transmit location information to Dropbox.

17`. Dropbox allows subscribers to obtain accounts at the domain name
www.dropbox.com. Subscribers obtain a Dropbox account by registering with an email address

' During the registration process, Dropbox asks subscribers to provide basic personal identifying
information This information can include the subscriber’s full name, physical address,
telephone numbers and other identifiers; alternative e-mail addresses, and, for paying
subscribers, means and source of payment (including any credit or bank account number). To
sign into the user’s Dropbox account, the user enters their email and password. After»accessing
th_e Dropbox website, if an individual correctly inputs the email address and password, he or she
would have the ability to access and open the account where various materials are stored.

18, When the subscriber transfers a file to a Dropbox account, it is initiated at the
user’s computer or electronic device, transferred via the Internet to the Dropbox servers, and then
can automatically be synchronized and transmitted to other computers or electronic devices that
have beenregistered with that Dropbox account.' This includes online storage in Dropbox
servers. If the subscriber does not delete the content, the files can remain on Dropbox servers

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indefinitely Even if the subscriber deletes their account, it may continue to be available on the
Dropbox servers for a certain period of time.

19. Once a user has a Dropbox account,_they can invite other Dropbox users~to access `
their shared folders A shared folder is one in which more than one user has access to, and can
add, download, or delete content l If a~user is invited to join another user’s folder, the invitation
request is sent to the registered email account,

20. A Dropbox user can also create a “shared link” to share file content with
individuals who do-not have a Dropbox account, The Dropbox user sends the shared link, and
anyone who clicks on the link can view, comment, or download a copy of the iiles, however,
they cannot edit the original files See https://www./dropbox.com/help/ 167 (last` accessed April 3,
d ` 2017).

0 21. ln some cases, Dropbox account users will communicate directly with Dropbox
about issues relating to the account, such as technical problems, billing inquiries or complaints
from other users Online storage providers typically retain records about such communications

l including records of contacts between the user and the provider’s support services, as well as
records of any actions taken by the provider or user as a result of the communications
22. Based°on my training and experience, 1 know that online storage mediums such as
Dropbox make it possible for the user to have access to saved files without the requirement of
storing said files on their own computer or other electronic storage device. Dropbox is an
“offsite” storage medium for data that can be viewed at any time from any device capable of
accessing the internet. Users can store their files on Dropbox and avoid having the files appear

on their computer. Anyone searching an individual’s computer that utilizes Dropbox would not

be able to view these files if the user opted only to store them at an offsite such as Dropbox.

 

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This is often viewed as advantageous for collectors of child pornography in that they can enjoy
an added level of anonymity and security '

B. ' DEFINITIONS

a. Statutory Definitions
23. “Child Pornography” includes the definition found`at 18 U.S.C. § 2256(8),

and is any visual depiction of sexually explicit conduct Where (a) the production of the visual
depiction involved the use of a minor engaged in sexually explicit conduct, (b) the visual
depiction is a digital image, computer image, or computer-generated image that is, or is
indistinguishable from, that of a minor engaged in sexually explicit conduct, or (c) the visual
depiction has been created, adapted, or modified to appear that an identifiable minor is
engaged in sexually explicit conduct.

24. As used in this Afiidavit, “child erotica” means materials or items that are
sexually arousing to certain individuals but that are not/ir in and of themselves obscene or do
_ not necessarily depict minors in sexually explicit poses or positions Such material may
include non-sexually explicit photographs (such as minors depicted in undergarrnents in
department store catalogs or advertising circulars), drawings or sketches, written
descriptions/stories or journals ii

25. “Visual depictions” include undeveloped film and videotape, and data stored
on computer disk or by electronic means, Which is capable of conversion into a visual image.
See 18 U.S.C. § 2256(5). f x

\` 0 26. “Minor” means any person under theage of eighteen years See 18 U.S.C.

§ 2256(1). ,

   

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27. “S exually explicit conduct” means actual or simulated (a) sexual intercourse,
including genital-genital, oral-genital, genital-anal, or oral-anal, whether between persons of
the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or
(e) lascivious exhibition of the genitals or pubic area of any persons See 18 U.S.C.

§ 2256(2).
b. The lnternet and Technical Terms Pertaining to Computers

28. As part of my training and experience, 1 have become familiar with the
Internet(also commonly known as the World Wide Web), which is a global network of
computers2 and other electronic devices that communicate with each other using various
means, including standard telephone lines, high-speed telecommunications links (e.g., copper
and fiber optic cable), and wireless transmissions including satellite. Due to the structure of
the lnternet, connections between computers on the lnternet routinely cross state and
international borders, even when the computers communicating with each other are in the
same state. lndividuals and entities use the lnternet to gain access to a wide variety of
information; to send information to, and receiveinformation from, other individuals; to
conduct commercial transactions; and to communicate via electronic mail (“e-mail”). An
individual who wants to use Internet e-mail must first obtain an account with a computer that
is linked to the lnternet (through a university an employer, or a commercial service such as
an “Electronic Service Provider” or “ESP” [see definition of “Electronic Service Provider”

» below]). Once the individual has accessed the lnternet, that individual can use lnternet mail

 

2 The term “cornputer” is defined by 18 U.S.C. § 1030(e)(l) to mean “an electronic, magnetic,
optical, electrochemical, or other high speed data processing device performing logical,
arithrnetic, or storage functions and includes any data storage facility or communications facility
directly related to or operating in conjunction with such device, but such term does not include
an automated typewriter or typesetter, a portable hand held calculator, or other similar device.”

   

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services including sending and receiving e-mail. In addition, the individual can visit Web
sites (see definition of “web sites” below), and make purchases on the Web sites

29.' ‘ Set forth below are some definitions of technical terms used throughout this
Affidavit, and in Attachment A hereto, pertaining to the Intemet and computers more
generally

a. Client/Server Computing: Computers on the lnternet are identified by the
type of function they perform. A computer that provides resources for other
computers on the Internet is known as a server. Servers are known by the
types of service they provide;` that is how they are configured. For example, a
web server is a machine that is configured to provide web pages to other
computers requesting them. A client computer is a computer on the Internet ,
that is configured to request information from a server conti gured to perform a

particular function For example, if a computer is configured to browse web
pages and has web page browsing software installed, it is considered a web
client.

b. Compressed file: A file that has been reduced in size through a compression
algorithm to save disk space. The act of compressing a file will make it
unreadable to most programs until the file is uncompressed.

c. Digital device: includes any electronic system or device capable of storing
and/or processing data in digital form, including: central processing units;
laptop or notebook computers; personal digital assistants wireless

communication devices such as telephone paging devices beepers and

mobile telephones peripheral input/output devices such as keyboards

 

 

 

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printers scanners, plotters monitors and drives intended for removable
media; related communications devices such as modems, cables and

v connections; storage media such as hard disk drives floppy disks compact
disks magnetic tapes and memory chips;` and security devices

d. Domain Name: Domain names are common, easy to remember names

associated with an Internet Protocol address (defined below). For example, a
domain name of “www.usdoj.gov” refers to the lntemet Protocol address of
149.101.1.32. '

e. 1-Iash value: A mathematical algorithm generated against data to’produce a
numeric value that is representative of that data. A hash value may be run on
media to find the precise data from which the value was generated Hash `
values cannot be used to find other \data.

f. image or cop y: An accurate reproduction of information contained on an
original physical item, independent of the electronic storage device,
“lmaging” or “copying” maintains contents but attributes may change during
the reproduction

g. Electronic Service Providers (“ESPS”) and the Storage of ESP Records: ESPs
formerly known as ISPs (Internet Service Providers) are commercial l
organizations that are in business to provide individuals and businesses access
to the lnternet. ESPS provide a range of functions for their customers
including access to the Internet, web hosting, e-mail, remote storage, and co-
location of computers and other communications equipment.` ESPS can offer a
range of options in providing access to the lnternet including telephone based

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dial-up, broadband based access via digital subscriber line (“DSL”) or cable
television, dedicated circuits or satellite based subscription ESPs typically
charge a fee based upon the type of connection and volume of data, called
bandwidth, that the connection supports ,Many ESPs assign each subscriber

an account name _ a user name or screen_name, an “e-mail address,” an e-mail v
mailbox, and a personal password selected by the subscriber. By using a
computer equipped With a telephone or cable modem, the subscriber ,can
establish communication with an ESP over a telephone line or through a cable

system, and can access the Internet by using his or her account name and
./

personal password. ESPs maintain records (“ESP records”) pertaining to their

subscribers (regardless of whether those subscribers are individuals or
entities). These records may include account application information,
subscriber and billing information: account access information (often times in
the form of log files), e-mail communications information concerning content
uploaded and/or stored on or via the ESP’s servers, and other information,
which may be stored both in computer data format and in written or printed
record format. ESPs reserve and/or maintain computer disk storage space on _

their computer system for their subscribers’ use, This service by ESPs allows

_ for both temporary and long-term storage of electronic communications and

many other types of electronic data and files Typically, e-mail that has not
been opened by an ESP customer is stored temporarily by an ESP incident to
the transmission of that e-mail to the intended recipient, usually within an area

known as the horne directory Such temporary, incidental storage is defined by

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statute as “electronic storage.” See 18 U._S.C. § 2510 (15). A service provider
that is available to the public and provides storage facilities after an electronic
communication has been transmitted and opened by the recipientj or provides
other long-term storage services to the public for. electronic data and files is
defined by statute as providing a “remote computing service.” See 18 U.S.C.
§ 2711(2). b
h. 1nternet Protocol Address (“IP address”): Every computer or device on the

1nternet is referenced by a unique lnternet Protocol address the same way
every telephone has a unique telephone number. An IP address is a series of
four numbers separated by a period,`and each number is a whole number
between 0 and\254. An example of an IPiaddressis 192.168.10.102. Each
time an individual accesses the 1nternet, the computer from which that
individual initiates access is assigned an IP address A central authority
provides each ESP a limited block of IP addresses for use by that ESP’s

' customers or subscribers Most ESP’s employ dynamic IP addressing, that is

v they allocate any unusele addresses at the time of initiation of an Irrternet
session each time a customer or subscriber accesses the 1nternet. A dynamic
IP address is reserved by an ESP to be shared among a group of computers
over a period of time. 'l`he ESP logs the date, time, and duration of the 1nternet
session for each IP address and can identify the_ user of that 11’ address for
such a session from these records Typically, users who sporadically access
the lnternet via a dial-up modern will be assigned an IP address from a pool of

IP addresses for the duration of each dial up session Once the session ends

 

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the IP address is available for the next dial up customer. On the other hand,
some ESP’s including most cable providers employ static IP addressing, that
is a customer or subscriber’s computer is assigned one IP address that is used
to identify each and every lntemet session initiated through that computer. 1n-
other words a static [P address is an IP address that does not change over a ,
period of time and is typically assigned to a specific computer.

i. M: Log files are records automatically produced by computer programs
to document electronic events that occur on computers Computer programs
can record a wide range _of events including remote access file transfers
logon/logoff times and system errors Logs are often named based on the
types of information they contain F or example, web logs contain specific
information about when a Web site was accessed by remote computers access
logs list specific information about when a computer was accessed from a
remote location; and file transfer logs list detailed information concerning
files that are remotely transferred

j. Malicious Software (i‘malware-”L: Software designed to infiltrate a computer
without the owner’s informed consent. The expression is a general term used
by computer professionals to mean a variety of forms of hostile, intrusive, or
annoying software or program code. Software is considered malware based
on the perceived intent of the creator rather than any particular features `
Malware includes computer viruses worms trojan horses most rootkits
spyware, dishonest adware, crimeware, and other malicious and unwanted

software

   

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k. Metadata: Data contained in a file that is not usually associated with the
content of a file but is often associated with the properties of the application or
device that created that file. For example, a digital camera photograph often
has hidden data that contains information identifying the camera that
manufactured it and the date the image was taken

l. Steganog;aphy: Art and science of communicating in a way that hides the
existence of the communication It is used to hide a file inside another. For
example, a child pornography image can be hidden inside another graphic
image file, audio file, or other file format.

m. Downloading: Downloading is the transmission of a file from one computer
system to another. From the Irrtemet user’s point-of-view, to download a file is to
request it from another computer (or from a Web page on another computer) and
to receive it.

n. Uploading: Uploading is the transmission in the other direction: from one
computer`to another computer. From an Irrtemet user’s point-of-view, \
uploading is sending a'file to a computer that is set up to receive it. v

o. Trace Route: A trace route is an 1nternet debugging tool used to document the
list of inter-connected computers between two computers on the 1nternet. A
trace route will list the names and IP addresses of computers that provide the
physical link between two computers on the 1nternet. Trace routes are useful
tools to help geographically identify where a computer on the Irrtemet is
physically located, and usually includes information about the registered

owner of computers on the Irrtemet.

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p. Uniform Resource Locator (“URL”): The address of a resource or file located
on the Internet, also called a “domain name”.

q. Web Site Hosting: Web site hosting provides the equipment and services
required to host and maintain files for one or more web sites and to provide
rapid 1nternet connections to those web sites Most hosting is “shared,” which
means that multiple web sites of unrelated companies are on the same server
in order to reduce associated costs When a client develops a Web site, the
client needs a server and perhaps a web hosting company to host it.
“Dedicated hosting” means that the web\hosting company provides all of the
equipment and assumes all of the responsibility for technical support and
maintenance of a Web site. “Co-location” means a server is located at a
dedicated hosting facility designed with special resources such as a secure
cage, regulated power, a dedicated 1nternet connection, online security and
online technical support Co-location facilities offer customers a secure place
to physically house their hardware and equipment as opposed to keeping it in
their offices or warehouses where the potential for fire, thef°c, or vandalism is
greater.

r. Cloud services Services made available to users on demand via the 1nternet 7
from a cloud computing provider’s servers as opposed to being provide from a
user’s own , personal servers Users can easily share files through cloud

accounts with others by simply sending others an online link to the file being

shared

 

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s Q_liat; Chat refers to any kind of text communication over the 1nternet that is
transmitted in real-time from sender to receiver. Chat messages are generally
short in order to enable other participants to respond quickly and in a format
that resembles an oral conversation This feature distinguishes chatting from
other text-based online communications such as 1nternet forums and email.`

C. COMPUTERS CELLULAR PHONES AND CHILD PORNOGRAPHY

30. Based upon my knowledge, training, and experience in child exploitation and
child pornography investigations and the experience and training of other law enforcement
officers with whom 1 have had discussions computers and computer technology have
revolutionized the way in which child pornography is produced, distributed and utilized
v Prior to the advent of computers cellular phones and the 1nternet,v child pornography was
produced using cameras and film, resulting in either still photographs or/movies`. The
photographs required darkroom facilities and a significant amount of skill in order to develop
and reproduce the images As a result, there were definable costs involved with the
production of pornographic images To distribute these images on any scale also required
significant resources The photographs themselves were somewhat bulky and required
secure storage to prevent their exposure to the public. The distribution of these wares was
accomplished through a combination of personal contacts mailings and telephone calls and
compensation for these wares would follow the same paths More recently, through the use
of computers cellular phones and the Internet, distributors of child pornography use
membership-based/subscription-based Web sites to conduct business allowing them to

remain relatively anonymous

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31. In addition,'based upon my knowledge, training, and experience in child
exploitation and child pornography investigations and the experience and training of other
law enforcement officers with whom 1 have had discussions the development of computers
and cellular phone has also revolutionized the way in which child pornography collectors
interact with, and sexually exploit, children Computers and cellular phones serve four basic
functions in connection with child pornography: production, communication and distribution,
and storage. More specifically the development of computershas changed the methods used
by child pornography collectors in these ways:

a. Production: Producers of child pornography can now produce both still and moving
images directly from a common video or digital camera. The camera is attached,

' using a device such as a cable, or digital images are often uploaded from the
camera’s memory card, directly to the computer. Irnages can then be stored,
manipulated, transferred, or printed directly from the computer.l _lmages can be
edited in ways similar to how a photograph may be altered lmages can be lightened,
darkened, cropped, or otherwise manipulated .The producers of child pornography

can also use a device known as a scanner to transfer photographs into a computer-
readable format. As a result of this technology, it is relatively inexpensive and
technically easy to produce, store, and distribute child pornography In addition,
there is an added benefit to the pornographer in that this method of production does

` not leave as large a trail for law enforcement to follow. 8

b. Communication and Distribution: The 1nternet allows any computer to connect to
another computer. By connecting to a host computer, electronic contact can be made

to literally millions of computers around the world 111 addition, the 1nternet allows ~

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users while still maintaining anonymity, to easily locate (i) other individuals with
similar interests in child pornography; and (ii) web sites that offer images of child
pornography Child pornography collectors can use standard 1nternet connections
such as those-provided by businesses universities and government agencies to
communicate with each other and to distribute child pornography These
communication links allow contacts around the world as easily as calling next door.
Additionally, these communications can be quick, relatively secure, and as
anonymous as desired A~ll of these advantages which promote anonymity for both
the distributor and recipient, are well known and are the foundation of transactions
between child pornography collectors over the 1nternet. Sornetimes the only way to §
identify both parties and verify the transportation of child pornography over the
lntemet is to examine the recipient’s computer, including the.lnternet history and
cache3 to look for “footprints” of the web sites and images accessed by the recipient.
M: The computer’s and cell phone’s capability to store images in digital form
makes it an ideal repositoryfor child pornography A single floppy disk can store _\
dozens of images and hundreds of pages of text. The size of the electronic storage x
media (commonly referred to as a hard drive) used in home computers has grown
tremendously within the last several years Hard drives with the capacity of l
terrabyte are not uncommon These drives can store hundreds of thousands of .
images at very high resolution Magnetic storage located in host computers adds
another dimension to the equation It is possible to use a video camera to capture an

image, process that image in a computer or cellular with a video capture board, and

 

 

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save that image to storage in another country Once this is done, there is no readily

apparent evidence at the “scene of the crime.” Only with careful laboratory

examination of electronic storage devicesis it possible to recreate the evidence trail.
INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

32. Based upon Affiant’s training and experience, Affiant knows that people involved
in the collection and trading of files of child pornography will oftentimes share access to their
cloud based storage accounts such as Dropbox. By sending a Dropbox link, a Dropbox user can
make their collection of child pornography readily viewable and accessible to the invitee.

33. Affiant also knows that people who are involved in the collection, tradingiand
possession of child pornography will often share only portions of their online storage and keep
other items stored in separate folders within the same account. These items can potentially be
children that the subject has physical access to and thus is memorializing those contacts In
addition, other files even if they do not contain child exploitation material, may contain images
or videos which would assist in identifying the owner of the account.

j 34. I know from my training and experience that the complete contents of Dropbox
accounts may be important to'establishing the actual user or users who have dominion and
control of shared folders within an account at a given time. Dropbox accounts may be registered
in false names or screen names from anywhere in the world with little to no verification by the
service provider. They may also be used by multiple people. Given the ease with which these
accounts may be created under aliases and the rarity with which law enforcement has eyewitness
testimony about a defendant’s use of an account, investigators often have to rely on

circumstantial evidence to show that an individual was the actual user of a subject account Only

by piecing together information contained in the contents of an account may an investigator

 

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establish who Was the actual user of an account, Ofi:en those pieces will come from a time
period before the account was used in the criminal activity Limiting the scope of the search for
information showing the actual user of the account would, in some instances prevent the
government from identifying the user of the account and, in other instances prevent a defendant
from suggesting that someone else was responsible Therefore, the content of a given account
often provides important evidence regarding the actual user’s dominion and control of the
account, For the purpose of searching for Dropbox content demonstrating the actual user of the
account, I am requesting a warrant requiring Dropbox to turn overall of the contents of the
account Without a date restriction for review by government-authorized persons Furthermore,
the government must be allowed to determine whether other individuals had access to the
account. If the government were constrained to review only a small subsection of the Dropbox
account, that small subsection might give the misleading impression that only a single user had
access to the account,

35 . Moreover, people who are involved in the collection, trading and possession of
Child Pornography often will have been conducting this type of activity for an unknown period
of tirne. Without having access to all of the information that is stored within the user’s Dropbox
account, from the date that the account was opened to the date of the warrant being executed,
information that may' lead to identification of victims of Child Sexual Exploitation may be
missed as well as evidence showing the time period and duration of the criminal activity

36. Since Affiant does not know the actual date when the account was created,

Affiant is requesting information from the account creation date to the date that the warrant is

executed

 

 

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37. 1 anticipate executing this warrant under the Electronic Communications Privacy
Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant §
to require Dropbox to disclose to the government copies of the records and other information
(including the content of communications) particularly described in Section I of Attachment B.
Dropbox shall deliver the information described in Section I of Attachment B within 10 days of
the service of this warrant Upon receipt of the information described in _Section I of Attachment
B, government-authorized persons will review that information to locate the items described in
Section 11 of Attachment B.

38. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this_warrant

CONCLUSION
v39. Based on the foregoing, 1 request that the Court issue the proposed search
warrant Because the warrant will be served on Dropbox 1nc. who will then compile the
requested records at a time convenient to it, reasonable cause exists to permit the execution
of the requested warrant at any time in the day or night

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Ryan Vazquez
Special Agent

 
 
   
    

and sworn to befo e on:

 

 

'ljheTI'-lonorable Deborah Barnes
UNITED STATES MAGISTRATE JUDGE

  

 

AUSA Jeremy Kelley

 

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ATTACHMENT A
PROPERTY TO BE SEARCHED

Dropbox Account to Aaron Reed

The property to be searched is all information associated With the Dropbox 1nc. account(s) that
was created, utilized, maintained and/or connected With or accessed by:

(1) The email address areed8821@gmail.com; and/or
(2) The username “Aaron Reed”

Which is stored at-premises owned, maintained controlled, or operated by Dropbox, 1nc.,
headquartered at 333 Brannan Street, San Francisco, California 94107 (the “Account(s)”).

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Attachment A Page 1

 

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ATTACHMENT B
Items to be seized '
I. INFORMATION TO BE DISCLOSED BY DROPBOX, INC.

To the extent that the information described in Attachment A is within the possession,
custody, or control of Dropbox, 1nc. including any messages records files logs or information
that have been deleted but are still available to Dropbox or have been preserved pursuant to
requests made under 18 U.S.C. § 2703(1), Dropbox 1nc. is required to disclose the following
information to the government for each account, identifier, or link listed in Attachment A:

a. v All records or otherinformation regarding the identification of the account(s), to
include full name, physical address telephone numbers and other identifiers email addresses
records of session times and durations the date on which the account was created, the length of
service, the IP address used to register the account, log-in IP addresses associated with session
times and dates account status e-mail addresses provided during registration, methods of
connecting, log files and means and source of payment (including any credit or bank account
number).

b. § All information automatically recorded by Dropbox from a user’s Device,
including its software and all activity using the Services to include, but not limited to: a
utilizing device’s IP address browser type, web page visited immediately prior to connecting to
the Dropbox website, all information searched for on the Dropbox website, locale preferences
identification numbers associated with connecting devices information regarding a user’s mobile
carrier, and configuration information .

c. ` The types of service utilized by the user(s).

   

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d. All records or other information stored by an individual using the account(s) and
f links including stored or preserved copies of: all files uploaded, downloaded or accessed using
the Dropbox service, including all available metadata concerning these files as well as email
“invites sent or received via Dropbo-x,_contact lists and the creation of _"‘shared links.;’
e. All records pertaining to communications between Dropbox and any person
1
regarding the account(s), including contacts with support services and records of actions taken

f. All records of communications or messaging between the user(s) of the account(s)
and links and other Dropbox users

g. F or each folder within the account(s) and each link, all unredacted records
including the unique user ids of each individual whocreated, joined or utilized the folder, by
either adding, deleting, or accessing content from the folder.

h. F or each folder within the account(s) and each link, information about who
accessed the files via a shared link, including IP address and records containing information
about the device from which the link was accessed

i. j Records of session times and durations anle addresses associated with each of
these sessions for every user in each folder in this account and each link.

j. Telephone or instrument numbers provided to Dropbox when each of these users
created their accounts and records of all devices connected to the Dropbox account for each of
the individuals accessing the folders in the account(s) and links

k. A complete list of all users within each folder found in the account(s) and links

including every user name, user identification number, corresponding email address physical

address and date the user joined Dropbox.

 

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l. Records of session times and durations anle addresses associated with each of
these sessions for every user in each folder in the account(s) and each link.
nr. For each folder found in the account(s) and links all information regarding the
user who created the folder, the creation date, and a complete listing of all users who joined,
accessed, and leH the folder, including»the dates each joined, accessed or leH then folder. All
information regarding when, if applicable, each folder was deleted and who deleted it. l
n. For the individuals identified as users of the folders in the account(s) or links any
means or sources of payment for this service,' including credit card and bank account numbers
II. INFORMATION TO BE SEIZED BY THE GOVERNMENT
All information described above in Section I that constitutes fruits evidence and
instrumentalities of violations of 18 U.S.C. §§ 2251, 2252, and 2252A, including for each
account, identifier, or link listed on Attachment A, information pertaining to the following
matters
(a) Any evidence of the attempted or actual persuasion, inducement enticement, or
coercion of any minorsto engage in sexually explicit conduct for the purpose of
producing visual depictions of the conduct;
(b) All records relating to the~use of _internet messaging services and contact between
Aaron. REED and any persons purporting or appearing to be minors
(c) Any child pornography or visual depictions of minors engaged in sexually explicit `
conduct in any form; v

(d) Any visual depiction of genitalia; §

   

Attachment B ' Page 3

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(e) Any items images documents communications records and information related to
the possession, transportation, or production of child pornography or visual depictions
of minors engaged in sexually explicit conduct;

(f) Any information pertaining to Aaron REED’s interest in child pornography visual
depictions of minors engaged in sexually explicit conduct, or erotica

(g) Any evidence of the attempted or actual persuasion, inducement enticement, or
coercion of any individual or minor to travel in interstate commerce for the purpose
of engaging in any illicit sexual conduct;

(h) Evidence indicating the user’s state of mind as it relates to the crimes under
investigation;

(i) All information regarding deletion of images Wiping software, encryption or other
methods to_avoid detection by law enforcement; and

(j) The identity of the person(s) who created or used the account(s) and links including
records and images to help reveal the whereabouts of such person(s).

III. PROVIDER PROCEDURES

Dropbox shall deliver the information described in Section 1 of Attachment B within 10

days of the service of this Warrant Dropbox shall send such information, on any digital media

device, to:

Special Agent Ryan Vazquez
650 Capitol Mall 3-100
Sacramento, CA 95 814

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Attachment B ` ' Page 4

 

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A() 93 (Rcv. l 1/13) Search and Seizure Warrant

 

UNITED STATES DISTRICT COURT

for the

Eastcm District of California

ln the Matter of the Search of

)
INFoRMArroN AssoCIATED WITH THE DRoPBox § C N 2: f
ACCoNr AssoCrArED wrrH ) asc °' l 7 ' SW - 1 0 7 3 °UE,L',¢J -.1
AREEr)ssz 1 @GMAIL CoM rnAr rs sroRED Ar ) ~__
PREMISES CoNTRoLLED BY DRoPBox INC )
SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

 

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Eastern ` District of ' California

 

(identify the person or describe the property to be searched mid give its location)l

SEE ATTACHMENT A, attached hereto and incorporated by reference.

1 find that the affidavit(s), or any recorded testimony establish probable cause to search and seize the person or property
described abOVe, and that Such Search Wlll reveal (identijj’ the person or describe the properly to be seized)§

SEE ATTACHMENT B, attached hereto and incorporated by reference.

YOU ARE COMMANDED to execute this warrant on or before mar to exceed 14 days)
|:l in the daytime 6:00 a.m to 10:00 p.m. 121 at any time in the day or night because good cause has been established

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises the property was taken, or leave the copy and receipt at the place where the
property was taken

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to: an authorized U.S. Ma istrate Jud e in the Eastern
District of California.

 

|:l Pursuant to 18 U.S.C. § 3103a(b), 1 find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property will be searched or seized (checkthe appropriate box)

|:l for days metro exceed 30) |:I until, the facts justifying, the l z specific date of

/ //w///(/\

y.}Vudge’ s signature

   

 

Date and time issued: \Q\‘ 18 "|'7@ l l `_ 07‘€ m //,~vv

City and state: Sacramento, California Deborah Barnes, U.S. Magistrate Judge

 

 

Printed name and title

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A() 93 (Rev. ll/l3) Search and Seizure Warrant (Page 2) (modiiied)

 

Return

 

Case No.:

 

 

Date and time warrant executed: Copy of warrant and inventory left wich

 

lnventory made in the presence of :

 

lnventory of the property taken and name of any person(s) seized:

 

 

Certification

 

 

I swear that this inventory is a true and detailed account of` the person or property taken by me on the warrant

 

Subscribed, sworn to, and returned before me this date.

 

 

Signature of Judge

Date

 

 

 

 

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ATTACHMENT A_
PROPERTY To BE sEARCHED

Dropbox Account to Aaron Reed

The property to be searched is all information associated with the Dropbox lnc. account(s) that
was created, utilized, maintained and/or connected with or accessed by:

(1) The email address areed8821@gmail.com; and/or
(2) The username “Aaron Reed.”

Which is stored at premises owned, maintained, controlled, or operated by Dropbox, Inc.,
headquartered at 333 Brannan Street, San Francisco, Calif`ornia 94107 (the “Account(s)”).

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Attachment A ‘ Page 1

 

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ATTACHMENT B
Items to be seized
I. INFORMATION TO BE DISCLOSED BY DROPBOX, INC.
To the extent that the information described in Attachment A is within the possession,
"custody, or control of Dropbox, Inc. including any messages, records, iiles, logs, or information
that have been deleted but are still available to Dropbox or have been preserved pursuant to
requests made under l8 U.S.C. § 2703(f),' Dropbox Inc. is required to disclose the following
» information to the government for each account, identifier, or link listed in Attachment A:
a. All records or other information regarding the identification of the account(s), to

. include full name, physical address, telephone numbers and other identifiers, email addresses,

records of sessiontimes and durations, the date on which the account was created, the length of

service, the IP address used to register the account, log-in IP addresses associated with session

times and dates, account status, e-mail addresses provided during registration, methods of
. connecting, log iiles, and means and source of payment (including any credit or bank account

number).

b. All information automatically recorded by Dropbox from_a user’s Device,
including its software and all activity using the Services, to include, but not limited to: a
utilizing device’s IP addre`ss, browser type, Web page visited immediatelyprior to connecting to
the Dropbox website, all information searched for on the Dropbox website, locale preferences,
identification numbers associated with connecting gdevices, information regarding a user’s mobile
carrier, and configuration information

c. - The types of service utilized by the user(s).

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Attachment B ' Page 1

 

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d. All records or other information stored by an individual using the account(s) and
' links, including stored or preserved copies of: all files uploaded, downloaded or accessed using
t the Dropbox service, including all available metadata concerning these files, as well as, email
“invites sent or received via Dropbox, contact lists, and the creation of “shared links.”

e. All records pertaining to communications between Dropbox and any person
regarding the account(s), including contacts with support services and records of actions taken.

f`. All records of communications or messaging between the user(s) of the account(s)
and links and other Dropbox users.

g. For each folder within the account(s) and each link, all unredacted records
including the unique user ids of each individual who created, joined or utilized the folder, by
either adding, deleting, or accessing content from the folder. t

h. For each folder within the account(s) and each link, information about who
accessed the files via a shared _link, including IP address and records containing information
about the device from which the link was accessed.

i. Records of session times and durations and IP addresses associated with each of
these sessions for every user in each folder in this account and each link.

j . Telephone or instrument numbers provided to Dropbox when each of these users
created their accounts, and records of all devices connected to the Dropbox account for each of
the individuals accessing the folders in the account(s) and links.

k. A complete list of all users-within each folder found in the account(s) and links,
including every user name, user identification number, corresponding email address, physical

address, and date the user joined Dropbox.

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AttachmentB ' ' ' PageZ

 

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1. Records of session times and durations and IP addresses associated with ea_ch o`f
these sessions for every user in each folder in the account(s) and each link.

m. For each folder found in the account(s) and links, all information regarding the
user who created the folder, the creation date, and a complete listing of all users who joined,
accessed, and left the folder, including the dates each joined, accessed or left the folder. All
information regarding when, if applicable, each folder was deleted and who deleted it.

' n. For the individuals identified as users of the folders in the account(s) or links, any
means or sources of payment for this service, including credit card and bank account numbers.
II. INFORMATION TO BE SEIZED BY THE GOVERNMENT

All information described above in Section I that constitutes fruits, evidence and
instrumentalities of violations of 18 U.S.C. §§ 2251, 2252, and 2252A, including for each
account, identifier, or link listed on Attachment A, information pertaining to the following
matters:

(a) Any evidence of the attempted or actual persuasion, inducement, enticement, or
coercion of any minors to engage in sexually'explicit conduct for the purpose of
producing visual depictions of the conduct;

(b) All records relating to the use of intemet messaging services and contact between

l A_aron REED and any persons purporting or appearing to be minors;

(c) Any child pornography or visual depictions of minors engaged in sexually explicit

conduct in any form; z

(d)_ Any visual depiction of genitalia;

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Attachment B , Page 3

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(e) Any items, images, documents, communications, records, and information related to
the possession, transportation, or production of child pornography or visual depictions
of minors engaged in sexually explicit conduct;

(i) Any information pertaining to Aaron REED’s interest in child pornography, visual
depictions of minors engaged in sexually explicit conduct, or erotica

(g) Any evidence of the attempted or actual persuasion, inducement, enticement, or
coercion of any individual or minor to travel in interstate commerce for the purpose
of engaging in any illicit sexual conduct;

(h) Evidence indicating the user’s state of mind as it relates to the crimes under
investigation;

-(i) All information regarding deletion of images, wiping software, encryption or other
methods to avoid detection by law enforcement; and v

(i) The identity of the person(s) who created or used the account(s) and links, including
records and images to help reveal the whereabouts of such person(s). "

III. PROVIDER PROCEDURES
Dropbox shall deliver the information described in Section I of Attachment B within 10

days of the service of this Warrant. Dropbox shall send such information, on any digital media

device, to:

Special Agent Ryan Vazquez
650 Capitol Mall 3-100
Sacramento, CA 95814

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Attachment B Page 4

 

